Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 1 of 9




       Exhibit B
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 2 of 9


                                                                     Drilling
                                                                      Permit     Complaint
Number      State     Field Office     Well Name       Well Number
                                                                     Approval    Appendix
                                                                       Date
                                                                                Amend.
                                     EAGLE 33
  1      New Mexico   Carlsbad                        10H            4/19/2022  Compl.,
                                     FEDERAL COM
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  2      New Mexico   Carlsbad                        502H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  3      New Mexico   Carlsbad                        503H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  4      New Mexico   Carlsbad                        503H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  5      New Mexico   Carlsbad                        501H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
  6      New Mexico   Carlsbad       OUTRIDER 27 FED 510H            12/2/2021 Compl.,
                                                                                Appx. A
                                                                                Amend.
  7      New Mexico   Carlsbad       OUTRIDER 27 FED 511H            12/2/2021 Compl.,
                                                                                Appx. A
                                                                                Amend.
  8      New Mexico   Carlsbad       OUTRIDER 27 FED 509H            12/2/2021 Compl.,
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  9      New Mexico   Carlsbad                        505H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  10     New Mexico   Carlsbad                        603H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  11     New Mexico   Carlsbad                        504H           12/10/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  12     New Mexico   Carlsbad                        506H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  13     New Mexico   Carlsbad                        507H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     OUTRIDER 28
  14     New Mexico   Carlsbad                        602H           12/2/2021 Compl.,
                                     FED
                                                                                Appx. A
                                                                                Amend.
                                     TATER TOT 2-35
  15     New Mexico   Carlsbad                        713H           9/27/2021 Compl.,
                                     STATE FED COM
                                                                                Appx. A



                                              1
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 3 of 9


                                                                   Drilling
                                                                    Permit    Complaint
Number      State     Field Office     Well Name     Well Number
                                                                   Approval   Appendix
                                                                     Date
                                                                              Amend.
                                     FNR FEDERAL
  16     New Mexico   Carlsbad                      14H            3/2/2022   Compl.,
                                     UNIT
                                                                              Appx. A
                                                                              Amend.
                                     FNR FEDERAL
  17     New Mexico   Carlsbad                      14H            3/2/2022   Compl.,
                                     UNIT
                                                                              Appx. A
                                                                              Amend.
                                     FNR FEDERAL
  18     New Mexico   Carlsbad                      14H            3/2/2022   Compl.,
                                     UNIT
                                                                              Appx. A
                                                                              Amend.
                                     MIDNIGHT HOUR
  19     New Mexico   Carlsbad                     723H            6/9/2022   Compl.,
                                     11 FED COM
                                                                              Appx. A
                                                                              Amend.
                                     LLAMA MALL 26-
  20     New Mexico   Carlsbad                      313H           6/3/2022   Compl.,
                                     35 FEDERAL COM
                                                                              Appx. A
                                                                              Amend.
                                     LLAMA MALL 26-
  21     New Mexico   Carlsbad                      24H            6/3/2022   Compl.,
                                     35 FEDERAL COM
                                                                              Appx. A
                                                                              Amend.
                                     LLAMA MALL 26-
  22     New Mexico   Carlsbad                      25H            6/3/2022   Compl.,
                                     35 FEDERAL COM
                                                                              Appx. A
                                                                              Amend.
                                     LLAMA MALL 26-
  23     New Mexico   Carlsbad                      26H            6/3/2022   Compl.,
                                     35 FEDERAL COM
                                                                              Appx. A
                                                                              Amend.
                                     BS 33 09 FED
  24     New Mexico   Carlsbad                      505H           6/3/2022   Compl.,
                                     STATE COM P1
                                                                              Appx. A
                                                                              Amend.
                                     BS 33 09 FED
  25     New Mexico   Carlsbad                      606H           6/3/2022   Compl.,
                                     STATE COM P1
                                                                              Appx. A
                                                                              Amend.
                                     MALTESE 5-8
  26     New Mexico   Carlsbad                      4H             6/3/2022   Compl.,
                                     FEDERAL COM
                                                                              Appx. A
                                                                              Amend.
                                     MALTESE 5-8
  27     New Mexico   Carlsbad                      1H             6/3/2022   Compl.,
                                     FEDERAL COM
                                                                              Appx. A
                                     DL 10 15                                 Amend.
  28     New Mexico   Carlsbad       OGOPOGO FED    423H           3/9/2022   Compl.,
                                     COM                                      Appx. A
                                                                              Amend.
                                     MALTESE 5-8
  29     New Mexico   Carlsbad                      2H             6/3/2022   Compl.,
                                     FEDERAL COM
                                                                              Appx. A
                                                                              Amend.
                                     MALTESE 5-8
  30     New Mexico   Carlsbad                      3H             6/3/2022   Compl.,
                                     FEDERAL COM
                                                                              Appx. A



                                              2
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 4 of 9


                                                                      Drilling
                                                                       Permit     Complaint
Number      State     Field Office      Well Name       Well Number
                                                                      Approval    Appendix
                                                                        Date
                                                                                 Amend.
                                     MALTESE 5-8
  31     New Mexico   Carlsbad                         12H            6/3/2022   Compl.,
                                     FEDERAL COM
                                                                                 Appx. A
                                                                                 Amend.
                                     MALTESE 5-8
  32     New Mexico   Carlsbad                         13H            6/3/2022   Compl.,
                                     FEDERAL COM
                                                                                 Appx. A
                                                                                 Amend.
                                     MALTESE 5-8
  33     New Mexico   Carlsbad                         11H            6/3/2022   Compl.,
                                     FEDERAL COM
                                                                                 Appx. A
                                                                                 Amend.
                                     MALTESE 5-8
  34     New Mexico   Carlsbad                         6H             6/3/2022   Compl.,
                                     FEDERAL COM
                                                                                 Appx. A
                                                                                 Amend.
                                     OUTRIDER 28
  35     New Mexico   Carlsbad                         604H           12/2/2021 Compl.,
                                     FED
                                                                                 Appx. A
                                                                                 Amend.
                                     YUKON 20 FED
  36     New Mexico   Carlsbad                         104H           12/10/2021 Compl.,
                                     COM
                                                                                 Appx. A
                                                                                 Amend.
                                     YUKON 20 FED
  37     New Mexico   Carlsbad                         103H           12/10/2021 Compl.,
                                     COM
                                                                                 Appx. A
                                                                                 Amend.
                                     MALTESE 5-8
  38     New Mexico   Carlsbad                         14H            6/3/2022   Compl.,
                                     FEDERAL COM
                                                                                 Appx. A
                                     DESERT EAGLE                                Amend.
  39     New Mexico   Carlsbad       1/2 W0AD FED      1H             6/3/2022   Compl.,
                                     COM                                         Appx. A
                                     DESERT EAGLE                                Amend.
  40     New Mexico   Carlsbad       1/2 W0EH FED      1H             6/3/2022   Compl.,
                                     COM                                         Appx. A
                                     DESERT EAGLE                                Amend.
  41     New Mexico   Carlsbad       1/2 B3AD FED      1H             6/3/2022   Compl.,
                                     COM                                         Appx. A
                                                                                 Amend.
                                     SND JAVELINA
  42     New Mexico   Carlsbad                         415H           6/3/2022   Compl.,
                                     UNIT 10 15 P413
                                                                                 Appx. A
                                                                                 Amend.
                                     SALADO DRAW 10
  43     New Mexico   Carlsbad                      3H                6/3/2022   Compl.,
                                     W0NC FED COM
                                                                                 Appx. A
                                                                                 Amend.
                                     SALADO DRAW 10
  44     New Mexico   Carlsbad                      2H                6/3/2022   Compl.,
                                     W1NC FED COM
                                                                                 Appx. A
                                                                                 Amend.
                                     RIPPLE 32 FED
  45     New Mexico   Carlsbad                         202H           6/3/2022   Compl.,
                                     COM
                                                                                 Appx. A



                                                3
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 5 of 9


                                                                     Drilling
                                                                      Permit     Complaint
Number      State     Field Office      Well Name      Well Number
                                                                     Approval    Appendix
                                                                       Date
                                                                                Amend.
                                     RIPPLE 32 FED
  46     New Mexico   Carlsbad                        204H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     LACEY SWISS 1
  47     New Mexico   Carlsbad                        721H           3/4/2022   Compl.,
                                     FED COM
                                                                                Appx. A
                                                                                Amend.
                                     DIAMOND 31 FED
  48     New Mexico   Carlsbad                      305H             1/26/2022 Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     DIAMOND 31 FED
  49     New Mexico   Carlsbad                      306H             1/26/2022 Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  50     New Mexico   Carlsbad                        203H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  51     New Mexico   Carlsbad                        201H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  52     New Mexico   Carlsbad                        706H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  53     New Mexico   Carlsbad                        702H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  54     New Mexico   Carlsbad                        205H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     MONEY GRAHAM
  55     New Mexico   Carlsbad                    126Y               10/22/2021 Compl.,
                                     FED COM
                                                                                Appx. A
                                                                                Amend.
                                     GHOST RIDER 22
  56     New Mexico   Carlsbad                      401H             4/19/2022 Compl.,
                                     15 FEDERAL COM
                                                                                Appx. A
                                                                                Amend.
                                     SND JAVELINA
  57     New Mexico   Carlsbad                        403H           10/21/2021 Compl.,
                                     UNIT 9 16 P351
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  58     New Mexico   Carlsbad                        206H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  59     New Mexico   Carlsbad                        207H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A
                                                                                Amend.
                                     RIPPLE 32 FED
  60     New Mexico   Carlsbad                        208H           6/3/2022   Compl.,
                                     COM
                                                                                Appx. A



                                               4
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 6 of 9


                                                                      Drilling
                                                                       Permit     Complaint
Number      State     Field Office      Well Name       Well Number
                                                                      Approval    Appendix
                                                                        Date
                                                                                  Amend.
                                     RIPPLE 32 FED
  61     New Mexico   Carlsbad                         710H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  62     New Mexico   Carlsbad                         712H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  63     New Mexico   Carlsbad                         714H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  64     New Mexico   Carlsbad                         721H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  65     New Mexico   Carlsbad                         723H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  66     New Mexico   Carlsbad                         725H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  67     New Mexico   Carlsbad                         727H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  68     New Mexico   Carlsbad                         731H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  69     New Mexico   Carlsbad                         733H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  70     New Mexico   Carlsbad                         735H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  71     New Mexico   Carlsbad                         764H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  72     New Mexico   Carlsbad                         775H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     SIG 6/5 B2EH
  73     New Mexico   Carlsbad                         1H             7/22/2021   Compl.,
                                     FEDERAL COM
                                                                                  Appx. A
                                                                                  Amend.
                                     RIPPLE 32 FED
  74     New Mexico   Carlsbad                         805H           6/3/2022    Compl.,
                                     COM
                                                                                  Appx. A
                                                                                  Amend.
                                     SND JAVELINA
  75     New Mexico   Carlsbad                         410H           6/3/2022    Compl.,
                                     UNIT 10 15 P409
                                                                                  Appx. A



                                                5
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 7 of 9


                                                                        Drilling
                                                                         Permit    Complaint
Number      State     Field Office     Well Name       Well Number
                                                                        Approval   Appendix
                                                                          Date
                                                                                   Amend.
                                     WEST EUMONT
  76     New Mexico   Carlsbad                        560              6/3/2022    Compl.,
                                     UNIT
                                                                                   Appx. A
                                                                                   Amend.
                                     LLAMA MALL 26-
  77     New Mexico   Carlsbad                      22H                6/3/2022    Compl.,
                                     35 FEDERAL COM
                                                                                   Appx. A
                                                                                   Amend.
                                     LLAMA MALL 26-
  78     New Mexico   Carlsbad                      23H                6/3/2022    Compl.,
                                     35 FEDERAL COM
                                                                                   Appx. A
                                                                                   Amend.
                                     LLAMA MALL 26-
  79     New Mexico   Carlsbad                      32H                6/3/2022    Compl.,
                                     35 FEDERAL COM
                                                                                   Appx. A
                                                                                   Amend.
  80     Wyoming      Buffalo        NINE MILE        4174-2116- 008FH 5/17/2021   Compl.,
                                                                                   Appx. A
                                                                                   Amend.
                                     LLAMA MALL 26-
  81     New Mexico   Carlsbad                      33H                6/3/2022    Compl.,
                                     35 FEDERAL COM
                                                                                   Appx. A
                                                                                   Amend.
                                     MACALLAN 12 1
  82     New Mexico   Carlsbad                        2H               6/3/2022    Compl.,
                                     FED ST COM 23
                                                                                   Appx. A
                                                                                   Amend.
  83     Wyoming      Buffalo        NINE MILE        4174-2116- 005FH 5/17/2021   Compl.,
                                                                                   Appx. A
                                                                                   Amend.
                                     WILD TURKEY 12
  84     New Mexico   Carlsbad                        002H             6/3/2022    Compl.,
                                     1 FED COM 24
                                                                                   Appx. A
                                                                                   Amend.
                                     WILD TURKEY 12
  85     New Mexico   Carlsbad                        001H             6/3/2022    Compl.,
                                     1 FED COM 24
                                                                                   Appx. A
                                                                                   Amend.
                                     WILD TURKEY 12
  86     New Mexico   Carlsbad                        003H             6/3/2022    Compl.,
                                     1 FED COM 24
                                                                                   Appx. A
                                                                                   Amend.
                                     MACALLAN 12 1
  87     New Mexico   Carlsbad                        1H               6/3/2022    Compl.,
                                     FED ST COM 23
                                                                                   Appx. A
                                                                                   Amend.
                                     MAKERS MARK 8
  88     New Mexico   Carlsbad                     002H                6/3/2022    Compl.,
                                     5 FED COM 27
                                                                                   Appx. A
                                                                                   Amend.
                                     MAKERS MARK 8
  89     New Mexico   Carlsbad                     001H                6/3/2022    Compl.,
                                     5 FED COM 27
                                                                                   Appx. A
                                                                                   Amend.
                                     MAKERS MARK 8
  90     New Mexico   Carlsbad                     003H                6/3/2022    Compl.,
                                     5 FED COM 27
                                                                                   Appx. A



                                                 6
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 8 of 9


                                                                      Drilling
                                                                       Permit     Complaint
Number      State     Field Office      Well Name      Well Number
                                                                      Approval    Appendix
                                                                        Date
                                                                                  Amend.
                                     MAKERS MARK 8
  91     New Mexico   Carlsbad                     004H              6/3/2022     Compl.,
                                     5 FED COM 27
                                                                                  Appx. A
                                                                                  Amend.
                                     MAKERS MARK 8
  92     New Mexico   Carlsbad                     005H              6/3/2022     Compl.,
                                     5 FED COM 27
                                                                                  Appx. A
                                     COMANCHE 25-                                 Amend.
  93     New Mexico   Carlsbad       36 FED STATE     7H             6/3/2022     Compl.,
                                     COM                                          Appx. A
                                                                                  Amend.
                                     SND JAVELINA
  94     New Mexico   Carlsbad                        420H           6/3/2022     Compl.,
                                     UNIT 11 2 P417
                                                                                  Appx. A
                                                                                  Amend.
                                     SPILLMAN DRAW
  95     Wyoming      Casper                       36-73 34-1NH      11/15/2021   Compl.,
                                     UNIT
                                                                                  Appx. A
                                                                                  Amend.
                                     MALTESE 5-8
  96     New Mexico   Carlsbad                        5H             6/3/2022     Compl.,
                                     FEDERAL COM
                                                                                  Appx. A
                                                                                  Amend.
                                     LLAMA MALL 26-
  97     New Mexico   Carlsbad                      34H              6/3/2022     Compl.,
                                     35 FEDERAL COM
                                                                                  Appx. A
                                                                                  Amend.
                                     LLAMA MALL 26-
  98     New Mexico   Carlsbad                      35H              6/3/2022     Compl.,
                                     35 FEDERAL COM
                                                                                  Appx. A
                                                                                  Amend.
                                     LLAMA MALL 26-
  99     New Mexico   Carlsbad                      312H             6/3/2022     Compl.,
                                     35 FEDERAL COM
                                                                                  Appx. A
                                                                                  Amend.
                                     SALADO DRAW 10
 100     New Mexico   Carlsbad                      3H               6/3/2022     Compl.,
                                     W1MD FED COM
                                                                                  Appx. A
                                                                                  Amend.
 101     New Mexico   Carlsbad       JAVELINA UNIT    412H           6/3/2022     Compl.,
                                                                                  Appx. A
                                                                                  Amend.
                                     ROADRUNNER
 102     New Mexico   Carlsbad                        8H             6/2/2022     Compl.,
                                     FEDERAL 25 OBL
                                                                                  Appx. A
                                                                                  Amend.
 103     Wyoming      Casper         JUNIPER          22W15-2NH      6/1/2021     Compl.,
                                                                                  Appx. A
                                                                                  Amend.
                                     FNRU FEDERAL
 104     New Mexico   Carlsbad                        15H            6/1/2022     Compl.,
                                     COM 22 23 III
                                                                                  Appx. A
                                                                                  Amend.
 105     Wyoming      Casper         ASPEN            08E20-6FH      5/27/2021    Compl.,
                                                                                  Appx. A



                                               7
               Case 1:22-cv-01716-TSC Document 84-3 Filed 01/20/23 Page 9 of 9


                                                                     Drilling
                                                                      Permit    Complaint
Number      State     Field Office     Well Name    Well Number
                                                                     Approval   Appendix
                                                                       Date
                                                                                Amend.
 106     Wyoming      Casper         SANTANA FED   3571-27-15-4E NH 3/11/2021   Compl.,
                                                                                Appx. A
                                                                                Amend.
                                                   3571-27-15-3W
 107     Wyoming      Casper         SANTANA FED                    3/11/2021   Compl.,
                                                   NH
                                                                                Appx. A
                                                                                Amend.
                                                   4075-0211-
 108     Wyoming      Casper         STATE                          3/3/2021    Compl.,
                                                   003FH*
                                                                                Appx. A
                                                                                Amend.
 109     Wyoming      Casper         OAKLEY FED    3571-3-27-2 TH   4/6/2021    Compl.,
                                                                                Appx. A
                                     ROADRUNNER                                 Amend.
 110     New Mexico   Carlsbad       FEDERAL COM 23 5H              6/1/2022    Compl.,
                                     ILL                                        Appx. A
                                     ROADRUNNER                                 Amend.
  111    New Mexico   Carlsbad       FEDERAL COM 23 6H              6/1/2022    Compl.,
                                     PML                                        Appx. A




                                              8
